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                            UNITED STATES DISTRICT COURT

                          SOUTHERN DISTRICT OF NEW YORK



SPORT TRINITY LLC,
                               Petitioner,
                                                            Case No. 1:18-cv-355
       v.
                                                            [Underlying Case:
BROIDY CAPITAL MANAGEMENT LLC and                           USDC Central District of California
ELLIOTT BROIDY,                                             Case No. 2:18-cv-02421-JFW-E]
                    Respondents.



NOTICE OF MOTION TO QUASH SUBPOENA AND/OR FOR PROTECTIVE ORDER,
  AND FOR TRANSFER UNDER FEDERAL RULE OF CIVIL PROCEDURE 45(f)

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, the

Declarations of Ayman Sabi and Amanda Fitzsimmons, Petitioner Sport Trinity LLC, by and

through its undersigned attorneys, will move this Court, before a duly assigned Part 1 judge, at

the Courthouse at 500 Pearl Street, New York, New York, at a time to be determined by the

Court, for an Order, pursuant to Federal Rule of Civil Procedure 45(f), transferring this Motion

to the Central District of California, or, in the alternative, for an Order quashing the subpoena

directed to AT&T Mobility LLC (AT&T) by Respondents Broidy Capital Management LLC and

Elliott Broidy, or in the alternative for a Protective Order. Sport Trinity LLC also requests an

award of legal fees and expenses incurred in connection with this motion and any other relief that

this Court deems just and proper.



 Dated: August 1, 2018                       By: s/ Kevin Walsh
                                                 Kevin Walsh
                                                 DLA PIPER LLP (US)
                                                 1251 Avenue of the Americas, 27th Floor
                                                 New York, NY 10020-1104




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                                     Telephone: 210.335.4500
                                     Facsimile: 210.335.4501

                                     Angela C. Agrusa (pro hac vice to be filed)
                                     Amanda Fitzsimmons (pro hac vice to be filed)
                                     DLA PIPER LLP (US)
                                     2000 Avenue of the Stars
                                     Suite 400 North Tower
                                     Los Angeles, California 90067-4704
                                     Telephone: 310.595.3000
                                     Facsimile: 310.595.3300

                                     Attorneys for Petitioner
                                     SPORT TRINITY LLC




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